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                                                                                        Page 1
                                UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      WESTERN DIVISION
              - - - - - - - - - - - - - - - - - - -X
              CITY OF ROCKFORD,                                          :
                                             Plaintiff,                  :
              vs.                                                        : Case No.
              MALLINCKRODT ARD INC.,                                     : 3:17-cv-50107
                                             Defendant.                  :
              - - - - - - - - - - - - - - - - - - -X
              SERIES 17-03-615, a designated                             :
              series of MSP RECOVERY CLAIMS,                             :
              SERIES LLC, et al.,                                        :
                                             Plaintiffs,                 :
              vs.                                                        : Case No.
              EXPRESS SCRIPTS INC., et al.,                              : 3:20-cv-50056
                                             Defendants.                 :
              - - - - - - - - - - - - - - - - - - -X


                             VIDEO DEPOSITION OF STEVE MILLER
                                        Clayton, Missouri
                                           March 29, 2023
                                                  9:13 AM



                         Reporter:         Jude Arndt, CSR, CCR, RPR


           ________________________________________________
                                     DIGITAL EVIDENCE GROUP
                              1730 M Street, NW, Suite 812
                                     Washington, D.C. 20036
                                          (202) 232-0646


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                                                                                       Page 2
     1                        DEPOSITION OF STEVE MILLER, produced,

     2    sworn, and examined on March 29, 2023, at Spencer Fane,

     3    1 North Brentwood Boulevard, Suite 1200, in the City of

     4    Clayton, State of Missouri, before Jude Arndt, a

     5    Certified Shorthand Reporter and Certified Court

     6    Reporter.

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                                                                                       Page 3
     1                              APPEARANCES OF COUNSEL

     2

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                                                                                       Page 4
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   17

   18      Also present:          Luke Arndt, videographer

   19

   20

   21

   22



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     5

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                                                                                       Page 6
     1                        THE VIDEOGRAPHER:             This is File Number 1

     2    of the videotaped deposition of Steven Miller in the

     3    matter of the city of Rockford versus Mallinckrodt ARD

     4    Inc., et al, in the United States District Court,

     5    Northern District of Illinois, Western Illinois, Case

     6    Number 3:17-cv-50107.

     7               This deposition is being held at Spencer Fane, 1

     8    North Brentwood Boulevard, Suite 1200, Clayton,

     9    Missouri on March 29, 2023.

   10                The time on the video screen is 9:13 AM.                          My

   11     name is Luke Arndt.              I am the legal videographer from

   12     Digital Evidence Group.                The court reporter is Jude

   13     Arndt in association with Digital Evidence Group.

   14                Will counsel please introduce themselves for the

   15     record?

   16                         MR. PLATT:         Good morning.           This is William

   17     Platt II.        I'm with the law firm of Haviland Hughes,

   18     and I'm here on behalf of the City of Rockford and the

   19     a class.

   20                         MR. RASMUSSEN:           Khristian Rasmussen,

   21     counsel for plaintiffs, the MSP plaintiffs.

   22                         MR. FORST:         Good morning.           This is Keith



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                                                                                       Page 7
     1    Forst with Quinn Emanuel Urquhart & Sullivan on behalf

     2    of the Express Scripts entities and the witness.

     3                        MR. HAMANN:         This is Matthew Hamann from

     4    Quinn Emanuel on behalf of the Express Scripts entities

     5    and the witness.

     6                        MS. BAUMANN:          Urmila Paranjpe Baumann,

     7    chief counsel of litigation, Express Scripts.

     8                        THE VIDEOGRAPHER:             Will the court reporter

     9    please swear in the witness?

   10

   11                The witness, STEVEN MILLER, first having been

   12     duly sworn, testified as follows:

   13                                       EXAMINATION

   14     BY MR. PLATT:

   15                Q.       Good morning, Dr. Miller.                  We met before

   16     the deposition.           Thank you for taking the time to come

   17     out today for this next round.

   18                Sir, do you know why you are here for a second

   19     deposition?

   20                A.       My understanding is you have more

   21     questions for me.

   22                Q.       And also we have some more documents that



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                                                                                       Page 8
     1     we didn't have when we had your deposition the first

     2     time.

     3               Mr. Haviland deposed you the first time.                           He is

     4     my law partner.           We are on the same side and we

     5     represent the same clients.

     6               Do you understand that?

     7               A.       Yes, sir.

     8               Q.       Okay.       Dr. Miller, you have stated both

     9     publicly and I think on the record in this case that

   10      you were unhappy with the prices of Acthar; is that

   11      correct?

   12                A.       Correct.

   13                Q.       And could you give me -- let me just go

   14      back.

   15                How many -- what years did you work for Express

   16      Scripts?

   17                A.       I joined the company in 2005, and stayed

   18      with the company until its acquisition by Cigna.

   19                Q.       By Cigna?

   20                A.       Yes.

   21                Q.       When was that?

   22                A.       The Cigna acquisition was 2019.



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                                                                                       Page 9
     1               Q.       All right.         And is it safe to say, sir,

     2    that you were unhappy with the prices of Acthar during

     3    that entire period of employment with Express Scripts?

     4               A.       Yes.

     5               Q.       And you stated previously that you made it

     6    clear that you were unhappy, and you stated so

     7    publicly; correct?

     8               A.       That's correct.

     9               Q.       Could you give me some examples of when

   10     you stated your unhappiness with the prices of Acthar

   11     publicly?

   12                A.       So we have a client forum.                  I have, you

   13     know, used Acthar as an example of a drug that's taken

   14     egregious price hikes in those forums.

   15                But I can't give you any specific examples, but

   16     I know that both, you know, in the press and in

   17     investor conferences and others, I was very clear that

   18     I was unhappy with the price.

   19                Q.       When you say the press, what are you

   20     referring to?

   21                A.       Oh, just, you know, general publications,

   22     Fierce Pharma, things like that, that cover our



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                                                                                      Page 10
      1    industry.

      2               Q.       So -- what was that last one?                    You said

      3    Fierce Pharma?

      4               A.       Fierce Pharma is just a trade journal

      5    that, you know, covers the biopharmaceutical industry.

      6               Q.       All right.         Do you recall when you made

      7    any statements to Fierce Pharma regarding your

      8    unhappiness with --

      9               A.       I'm not sure if it was specific to Acthar,

    10     but the high price of drugs has been something I've

    11     campaigned against for a long time, and Acthar was a,

    12     you know, example of what we thought were

    13     inappropriately-priced drugs.

    14                Q.       And do you recall -- and I have a document

    15     here I can distribute.

    16                Do you recall in 2015 Brian Henry prepared a

    17     statement for you to post on the Express Scripts blog

    18     regarding high prices of drugs?

    19                A.       Brian Henry prepared statements -- yeah, I

    20     mean, he prepared statements many times on my behalf.

    21                Q.       I'm going to mark as Exhibit 1 an e-mail

    22     from Brian Henry to you dated September 22nd, 2015.



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                                                                                      Page 11
      1               Before we look at that and while we are

      2    distributing this document, do you recall a Citibank

      3    conference that you attended where you made a statement

      4    to investors about your unhappiness with the price of

      5    Acthar?

      6               A.       Yes.

      7               Q.       And do you recall when that conference

      8    took place?

      9               A.       Can't tell you the specific date.

    10                Q.       Would you agree with me it was in 2017?

    11                A.       I -- you know, if you say so, I believe

    12     it's 2017.

    13                Q.       All right.         Now, at that Citibank

    14     conference, who was in attendance at that particular

    15     conference?

    16                A.       Oh, I can't tell you who was --

    17                Q.       Not by name.          Just generally.            It was

    18     investors; correct?

    19                A.       These were investors.

    20                Q.       Okay.      So it wasn't a conference that

    21     included the general public; correct?

    22                A.       It did not include the general public.



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                                                                                      Page 12
      1               Q.       So you had to be a investor to attend that

      2    meeting; right?

      3               A.       I assume that's the rules.                  I did not -- I

      4    had nothing to do with the invitations.

      5               Q.       All right.         So that's one example of what

      6    you would describe as a public criticism --

      7               A.       Yeah.

      8               Q.         -- of the increase in drug prices?

      9                        MR. FORST:         Wait for him to finish the

    10     question.

    11     BY MR. PLATT:

    12                Q.       And I'm sorry about that.                  I don't mind

    13     having that that back-and-forth that way, but for the

    14     court reporter it's miserable, and witnesses have a

    15     tendency to understand where I'm going with a question,

    16     so you're going to be quick to give me answer,

    17     especially if you agree with where I'm going with a

    18     question.

    19                So it's difficult for you and me and it's going

    20     to be difficult for you, but let's just try to let me

    21     finish, and then you can answer the question.

    22                So that was -- you said that was one of the



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                                                                                      Page 13
      1     examples of where you publicly --

      2               A.       I viewed any public statement was any

      3     statement that could be -- you know, may make its way

      4     into general circulation.

      5               Q.       Okay.

      6               A.       And so that was not a confidential

      7     discussion with the investors, and so it could very

      8     likely become a public statement; correct.

      9               Q.       And at that Citibank conference you

    10      explicitly criticized the prices of Acthar; right?

    11                A.       I believe so.

    12                Q.       I gave you Exhibit 1.                I think you have

    13      it.

    14                A.       I do not.

    15                         [Exhibit 1 marked for identification.]

    16      BY MR. PLATT:

    17                Q.       And sir, I'll represent to you that I had

    18      the opportunity to depose Brian Henry last week.                               He

    19      came in for a second deposition like you are, and I

    20      asked him about this particular document.

    21                You know who Brian Henry is; right?

    22                A.       Yes.



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                                                                                      Page 14
      1               Q.       And what was his job at Express Scripts?

      2               A.       He was in communications.

      3               Q.       What else that --

      4               A.       Vice president of communications for

      5    Express Scripts.            So he would interact with our

      6    publication relations effort.

      7               Q.       Okay.      So he would be sort of the -- well,

      8    let me strike that.

      9               Exhibit 1 is an e-mail from Brian Henry to you

    10     and it carbon copies David Whitrap.

    11                Do you see that?

    12                A.       Correct.

    13                Q.       Who is David Whitrap?

    14                A.       He worked for Brian Henry.                  He was his

    15     lieutenant.

    16                Q.       And when you say lieutenant, what does

    17     that mean?

    18                A.       He was his subordinate.                He was -- they

    19     worked together as a team.                  Brian was his direct -- his

    20     boss.

    21                Q.       Okay.      And you'll see that obviously Brian

    22     Henry in that first paragraph describes what he is



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                                                                                      Page 15
      1    sending to you; right?

      2               A.       Yes.

      3               Q.       And he says he wants to put this -- he

      4    says want to put this out under your name.                           Can do so

      5    as soon as we here from you.                   Thanks in advance.

      6               Do you see that?

      7               A.       Yes.

      8               Q.       And then below that there is sort of it

      9    looks like what I'm just going to generally call a

    10     press release; is that fair?

    11                A.       I don't think -- I thought -- I don't know

    12     what -- if he was releasing this to the press.                             I don't

    13     know the -- or if he said he was putting thing on a

    14     blog.

    15                Q.       All right.         So Brian Henry told me he was

    16     putting it on a blog, and he said there was a Express

    17     Scripts blog that was operated by Express Scripts.                                Are

    18     you familiar with that blog?

    19                A.       Yes.

    20                Q.       What's that called?

    21                A.       I believe it's the Express Scripts Blog.

    22                Q.       Okay.      It's not Fierce Pharma?



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                                                                                      Page 16
      1               A.       No, no.

      2               Q.       Okay.      And do you know who has access to

      3    that blog?

      4               A.       I believe the blog is open to the public.

      5               Q.       And it goes on the website, the Express

      6    Scripts website?

      7               A.       I believe it goes on the Express Scripts

      8    website.

      9               Q.       All right.         So Brian Henry told me that he

    10     drafted this particular blog post, and his e-mail seems

    11     to indicate that he did it for you; correct?

    12                A.       Correct.

    13                         MR. FORST:         Objection.         Objection.

    14     Foundation.

    15     BY MR. PLATT:

    16                Q.       Do you recall seeing this e-mail before?

    17                A.       I don't recall this specific -- I don't

    18     recall this e-mail specifically, no.

    19                Q.       And when typically -- was it typical for

    20     Brian Henry to draft blog posts for you, or under your

    21     name as he says?

    22                A.       Yes.



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                                                                                      Page 17
      1               Q.       And then they were posted on the blog?

      2               A.       Yes.

      3               Q.       On the Express Scripts website; correct?

      4               A.       Correct.

      5               Q.       All right.         Do you remember whether or not

      6    this particular draft blog post was posted on the

      7    Express Scripts internet blog?

      8               A.       I don't know because I have never accessed

      9    the blog.

    10                Q.       Okay.      Was it your practice to review

    11     Brian Henry's drafts of blog posts before they were

    12     submitted for public consumption?

    13                A.       Yes.

    14                Q.       And you do or you don't recall reviewing

    15     this particular blog post?

    16                A.       There were multiple blog posts.                     I don't

    17     recall this one specifically.

    18                Q.       Do you remember telling Brian Henry that

    19     you don't want this blog post posted as drafted?

    20                         MR. FORST:         Objection.         Foundation.

    21                A.       Like I said, I don't remember particular

    22     blog post.        I don't remember.



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                                                                                      Page 18
      1    BY MR. PLATT:

      2               Q.       All right.         Well, let's read it.               Maybe it

      3    will refresh your recollection a little bit.

      4               There is a statement that Mr. Henry writes under

      5    your name, it says -- in the second paragraph -- well,

      6    let's read the whole thing.

      7               It was revealed earlier this week that Daraprim,

      8    a 62-year-old drug that treats toxoplasmosis, recently

      9    had an overnight price increase of 5,000 percent.

    10                Do you see that?

    11                A.       Yes.

    12                Q.       So he is clearly talking about the

    13     Daraprim controversy, which he bold and underlined, and

    14     he is referencing a $5,000 (sic) increase in the price

    15     of Daraprim; right?

    16                         MR. FORST:         Objection to the form.

    17                A.       It appears that way, yes.

    18     BY MR. PLATT:

    19                Q.       And he says that that Daraprim was a

    20     62-year-old drug in 2015; right?

    21                A.       Yes.

    22                Q.       Do you know whether or not that's



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                                                                                      Page 19
      1     accurate?

      2               A.       I do not know if that's the exact age of

      3     the drug.

      4               Q.       Okay.       Do you know if Daraprim in 2015

      5     increased the price of the drug -- if the price of

      6     Daraprim was increased 5,000 percent?

      7               A.       These numbers are correct.

      8               Q.       Okay.

      9               So in the next paragraph, he says unfortunately

    10      this isn't a new phenomenon.

    11                Do you see that?

    12                A.       Yes.

    13                Q.       And the blog post says Daraprim is one of

    14      several older generic medications.

    15                Do you see that?

    16                A.       Yes.

    17                Q.       Is that accurate?

    18                A.       Yes.

    19                Q.       Okay.       Was Acthar gel one of those -- one

    20      of those several drugs that he is referencing there?

    21                         MR. FORST:          Objection to the form.                Calls

    22      for speculation.



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                                                                                      Page 20
      1               A.       So Acthar gel was not a generic

      2    medication.

      3    BY MR. PLATT:

      4               Q.       Right.

      5               A.       And so -- but -- and so he obviously --

      6    there is obviously examples given subsequently.                              But so

      7    Acthar gel may not be specifically what he has in mind

      8    here.

      9               Q.       Okay.

    10                A.       Or what --

    11                Q.       Now, he wrote this for your signature;

    12     right?

    13                A.       Uh-huh.

    14                Q.       I'm going to say signature generally.                         I

    15     don't know how you sign off on a blog post, but he

    16     wrote this for you to post under your name; right?

    17                A.       Yes.

    18                Q.       He also talks about -- the blog post also

    19     talks about a drug called Vimovo.

    20                What is Vimovo, do you remember?

    21                A.       Vimovo is a combination of two generic

    22     drugs that was put together as a combo tablet.



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                                                                                      Page 21
      1               Q.       And then there's another drug called

      2    Duexis?

      3               A.       Yes.

      4               Q.       What is Duexis, do you know?

      5               A.       Same.      Two generic drugs put together as a

      6    new drug.

      7               Q.       Okay.      So in 2015 -- you testified already

      8    you were unhappy with the prices of Acthar throughout

      9    your entire employment with Express Scripts; right?

    10                A.       Yeah, you know, let me modify that.                       I'm

    11     not sure I was even aware of the price of Acthar when I

    12     first joined the company, but when I became aware of

    13     the price I was unhappy with it.

    14                Q.       Were you aware of the price of Acthar in

    15     2015?

    16                A.       Yes.

    17                Q.       When you reviewed this and gave Mr. Henry

    18     permission to post this on the blog, why didn't you ask

    19     him to include Acthar as one of the examples?

    20                         MR. FORST:         Objection.         Lack of

    21     foundation.

    22                A.       So this statement is accurate, gives



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                                                                                      Page 22
      1    examples, and so we did not include every example of

      2    drugs that had increase in drug price.

      3               And he was specifically making a point about

      4    generic drugs having their prices increased.

      5    BY MR. PLATT:

      6               Q.       But in 2015 you did believe that Acthar

      7    was overpriced; right?

      8                        MR. FORST:         Asked and answered.

      9               A.       Yes.

    10     BY MR. PLATT:

    11                Q.       And you're telling me that you never went

    12     back to Mr. Henry and said I want you to include Acthar

    13     in this blog post?

    14                A.       Correct.

    15                         MR. FORST:         Objection.

    16     BY MR. PLATT:

    17                Q.       All right.         I'm going to ask you some

    18     questions just kind of generally to familiarize myself

    19     and the jury with these documents that we received.

    20                         [Exhibit 2 marked for identification.]

    21     BY MR. PLATT:

    22                Q.       Dr. Miller, you'll see this is an e-mail



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                                                                                      Page 23
      1    from Brian Henry dated August 31st, 2016, and it's

      2    addressed to you; correct?

      3               A.       Yes --

      4                        MR. FORST:         I'm going to object that the

      5    first exhibit is outside the scope of the order.                              They

      6    were older produced documents, not new ones.

      7                        MR. PLATT:         I don't think this is an older

      8    produced document.             I would disagree with that.

      9                        MR. FORST:         We can tell from the Bates

    10     number, but we lodge our objection.

    11                         MR. PLATT:         Okay.

    12     BY MR. PLATT:

    13                Q.       Sir, you see at the top of that e-mail,

    14     Brian Henry says to you, you were right, parentheses,

    15     again, end parentheses.

    16                Do you see that?

    17                A.       Yes.

    18                Q.       Do you recall receiving this particular

    19     e-mail from Mr. Henry in August of 2016?

    20                A.       No.

    21                Q.       If you review the e-mail and you read the

    22     article he's referring to -- could you explain to me,



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                                                                                      Page 24
      1    if you know, what he meant when he said you were right

      2    again?

      3                        MR. FORST:         Objection to the form.

      4    Foundation.

      5               A.       I do not.

      6    BY MR. PLATT:

      7               Q.       Okay.      And, sir, that's -- I just gave you

      8    two documents that were examples of discussions about

      9    high drug prices.

    10                Do you understand that?

    11                         MR. FORST:         Objection to the form.

    12                A.       Yes.

    13     BY MR. PLATT:

    14                Q.       We have received million dollars of pages

    15     of documents in this case, and we have had several

    16     attorneys and staff review these documents, and I can't

    17     find anything else that mentions your name and attaches

    18     your name to any discussion about price increases or

    19     any complaints about the increase in the price of

    20     Acthar.

    21                Can you give me any other specific examples of

    22     where you made any kind of public statement?



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                                                                                      Page 25
      1                        MR. FORST:         Objection to the testimony.

      2    Mischaracterizes the record.                   Lack of foundation.

      3               A.       Yeah, so I have campaigned tirelessly

      4    for -- against the high prices of drugs.                          I cannot give

      5    you specific examples of when I have talked about

      6    Acthar or any other specific product.

      7    BY MR. PLATT:

      8               Q.       Okay.      So you are stating generally that

      9    you are talking about high drug prices, and you

    10     protested high drug prices; right?

    11                         MR. FORST:         Objection.

    12     BY MR. PLATT:

    13                Q.       I want to focus specifically on Acthar,

    14     not Daraprim or the generics that we talked about

    15     earlier.        I'm just asking the question as it pertains

    16     to Acthar only.

    17                Can you give me any specific examples sitting

    18     here today where you publicly criticized Mallinckrodt

    19     for the price increases of Acthar?

    20                         MR. FORST:         Asked and answered.

    21                A.       I cannot -- I cannot give you specific

    22     examples.



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                                                                                      Page 26
      1    BY MR. PLATT:

      2               Q.       Dr. Miller, do you know what prior

      3    authorization is?

      4               A.       Yes, sir.

      5               Q.       Could you explain to the jury what a prior

      6    authorization is?

      7               A.       So it's a utilization management technique

      8    in which a drug has to be approved before the patient

      9    will know that their planned sponsor will subsidize the

    10     cost of that product.

    11                Q.       And when you say approved, who has -- who

    12     makes -- who does the approval?

    13                A.       So the approval could be done -- depends

    14     on who the planned sponsor chooses to do the prior

    15     authorizations.           Sometimes they utilize our services,

    16     sometimes they utilize outside services.

    17                Q.       And sir, I'm going to give you an e-mail

    18     just to give you a point of reference, Exhibit 3.

    19                         [Exhibit 3 marked for identification.]

    20     BY MR. PLATT:

    21                Q.       Sir, you're not on this e-mail, I'll state

    22     for the record, but do you see in the first e-mail it's



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                                                                                      Page 27
      1    an e-mail from Everett Neville?

      2               Do you know who Everett Neville is?

      3               A.       Yes.

      4               Q.       And who is he?

      5               A.       He was one of our executives who was over

      6    supply chain.

      7               Q.       And this was the same Everett Neville that

      8    was at the Citibank conference with you in 2017; right?

      9               A.       Correct.

    10                Q.       And Gary Kline is addressed in the to

    11     line.

    12                Who is Gary Kline?

    13                A.       Gary Kline works for government affairs

    14     for Express Scripts.

    15                Q.       Okay.      And who is --

    16                         MR. FORST:         And objection.           I'm going to

    17     lodge another objection to the whole document.

    18     BY MR. PLATT:

    19                Q.       And who is Megan Hauck?

    20                A.       I don't know.

    21                Q.       Do you see where Mr. Neville writes, I

    22     understand it.           Our cost containment here is the PA.



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                                                                                      Page 28
      1               Do you know what he means when he says that?

      2               A.       Whatever example he is citing, the -- the

      3     tool we are using to contain costs is a prior

      4     authorization.

      5               Q.       And do you see the article that's

      6     referenced and looks like it's cut and pasted in the

      7     e-mail from May 7, 2018 at 6:25 PM from Megan Hauck to

      8     Gary Kline?

      9               A.       Yes.

    10                Q.       Did you ever see that particular news

    11      article before today?

    12                A.       Not that I remember.

    13                Q.       Dr. Miller, do you recall if Express

    14      Scripts had prior authorization -- and tell me if I'm

    15      saying this the wrong way.

    16                Did Express Scripts have a prior authorization

    17      policy in place in 2005 for Acthar when you started at

    18      the company?

    19                         MR. FORST:          Just objection.            Outside the

    20      scope of the order.

    21                A.       We did not.

    22      BY MR. PLATT:



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                                                                                      Page 29
      1               Q.        How about in 2006?

      2               A.        We did not.

      3               Q.        What about 2007?

      4               A.        We did not.

      5               Q.        What about 2008?

      6               A.        We did not.

      7               Q.        What about 2009?

      8               A.        We did not.

      9               Q.        What about 2010?

    10                A.        No.

    11                Q.        2011?

    12                A.        No.

    13                Q.        2012.

    14                A.        I believe that's when we had a prior

    15      authorization policy.

    16                Q.        You did for Acthar?

    17                A.        I believe that's the date.

    18                Q.        And what's your basis for that?

    19                A.        Discussions from this case.

    20                Q.        So you have no independent knowledge

    21      outside of this case whether or not there was a prior

    22      authorization in place in 2012 for Acthar?



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                                                                                      Page 30
      1                        MR. FORST:         Objection.         Objection to the

      2    form.      Foundation.

      3               A.       I do not know the date that the prior

      4    authorization was in place, correct.

      5    BY MR. PLATT:

      6               Q.       Okay.      Do you know if they had a prior

      7    authorization in place in 2013 for Acthar?

      8                        MR. FORST:         Objection to the form.

      9               A.       You -- I do not have the data when the

    10     prior authorization policy went into place.

    11     BY MR. PLATT:

    12                Q.       Well, I'm just going to keep going.

    13                Do you know if it was place in 2017?

    14                A.       I believe there was a prior authorization

    15     in place in 2017.

    16                Q.       And what's your basis for that conclusion?

    17                A.       In the prior deposition, we actually went

    18     over the Acthar gel prior auth, and the date was I

    19     believe somewhere around -- somewhere between 2012 and

    20     2015.

    21                Q.       So somewhere between -- why do you -- why

    22     do you believe it was between 2012 abstract and 2015?



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                                                                                      Page 31
      1               A.       Because my memory of it is sketchy.

      2               Q.       But you are certain --

      3               A.       That's correct.

      4               Q.         -- it was sometime between 2012 and 2015?

      5               A.       Yes, sir.

      6               Q.       Did something occur at Express Scripts

      7    that triggered the implementation of a prior

      8    authorization policy for Acthar?

      9               A.       Yes.

    10                Q.       What was that?

    11                A.       So early on, we followed -- we followed

    12     what are called drug trends, what our clients are

    13     spending on drugs.

    14                Early in my career, Acthar gel never hit

    15     anyone's radar screen for a couple of reasons.                             One is

    16     Acthar gel was a very small-volume product, mostly used

    17     for kids, and most of those kids were covered by

    18     Medicaid, and we had very little Medicaid business.

    19                Over time, you know, obviously the price went up

    20     with Acthar gel, but also the number of patients that

    21     were -- that it was being utilized on went up.                             And so

    22     when it became an issue for our clients, then our team



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                                                                                      Page 32
      1    that does prior authorizations put a prior

      2    authorization in place.

      3               Q.       Was price the only issue that you were

      4    concerned about with regard to Acthar?

      5               A.       More important than price is appropriate

      6    utilization.

      7               Q.       What do you mean when you say appropriate

      8    utilization?

      9               A.       So you know, we are very committed to

    10     getting the best health care for our patients.                             And

    11     when we see that drugs are not being -- that the best

    12     drugs aren't being utilized for our patients, often

    13     we'll put in place utilization management policies to

    14     both improve the care that patients receive but also

    15     control their costs, because, you know, choosing poorly

    16     represents unnecessary spending.

    17                Q.       Okay.      So what indications, if you recall,

    18     did Acthar treat?

    19                A.       So Acthar gel -- and this is actually

    20     something that I read when I reviewed my testimony that

    21     I said incorrectly -- Acthar gel's label is it has two

    22     indications, and that is for infantile spasm and



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                                                                                      Page 33
      1    exacerbations of multiple sclerosis.

      2               It has approval for a whole list of other

      3    things, but it's truly indicated for two specific

      4    diseases.

      5               And in our review, Acthar gel was the drug of

      6    choice for infantile spasms, and for most all other

      7    diseases there was better products in the marketplace.

      8               Q.       And when you say all other diseases, do

      9    you include multiple sclerosis in that category?

    10                A.       I think it's indicated for exacerbations

    11     of multiple sclerosis so it's not first-line therapy

    12     for multiple sclerosis, and so this is when making sure

    13     that people are using it appropriately -- is why it's

    14     also covered in the prior authorization.

    15                Q.       Dr. Miller, what I did see in a lot of

    16     your documents that were recently produced is the name

    17     Martin Shkreli.

    18                Do you know who Martin Shkreli is?

    19                A.       Yes, I do.

    20                Q.       And who is Martin Shkreli?

    21                A.       Martin Shkreli was with Turing

    22     Pharmaceuticals, and he was the one who bought the



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                                                                                      Page 34
      1    rights to Daraprim and increased the price.

      2               Q.       Okay.      Have you ever met Mr. Shkreli?

      3               A.       Yes.

      4               Q.       In person?

      5               A.       Yes.

      6               Q.       When?

      7               A.       At a Forbes conference.

      8               Q.       You said a Forbes conference.                    Do you

      9    remember when that was?

    10                A.       It was in New York.              It was widely covered

    11     in the press.          Forbes actually had me address Mr.

    12     Shkreli.

    13                Q.       I'm sorry.         The last part you said there

    14     was what?

    15                A.       Forbes actually had me address Mr.

    16     Shkreli.

    17                Q.       Had you address Mr. Shkreli?

    18                A.       So Mr. Shkreli was giving a presentation

    19     at the Forbes conference.                 They specifically asked me

    20     to ask a question of Mr. Shkreli.                      You can go on

    21     YouTube and find the video if you would like.

    22                Q.       What was the question you asked -- that



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                                                                                      Page 35
      1    Forbes asked you to ask Mr. Shkreli?

      2               A.       They didn't ask me to ask a specific

      3    question.        They gave me the opportunity to ask a

      4    question.

      5               And I believe -- and, you know, my memory is I

      6    believe I asked him a question about his motivation

      7    behind the price increase for Daraprim.

      8               Q.       All right.         And what was his answer?

      9               A.       He said that it was his fiduciary

    10     responsibility to raise the price, that he worked for

    11     the shareholders, and that maximizing return was what

    12     he was responsible to do for his shareholders.

    13                Q.       Did Mr. Shkreli at that Forbes conference

    14     ever make a statement that Express Scripts was trying

    15     to get Daraprim's business from him?

    16                         MR. FORST:         Objection as to the form.

    17                A.       Yeah, he said something along those lines,

    18     that Express Scripts was trying to get his business.

    19     BY MR. PLATT:

    20                Q.       Was that in response to your question?

    21                A.       I believe it came out in response to my

    22     question; correct.



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                                                                                      Page 36
      1               Q.       And were you aware, sir, that Express

      2    Scripts was in fact trying to get Daraprim on its list

      3    of drugs?

      4                        MR. FORST:         Objection.         Foundation.

      5               A.       Yeah, I'm unclear -- I don't remember if I

      6    was aware, because that was a separate side of the

      7    business.

      8    BY MR. PLATT:

      9               Q.       Did you have any reaction, positive or

    10     negative, to his statement that Express Scripts was

    11     trying to get Daraprim business from Mr. Shkreli?

    12                A.       It would not surprise me if the company

    13     was trying to have access to the drug.                         It's what we do

    14     for our patients, is we get access for drugs, and this

    15     was an important drug for patients who had a specific

    16     type of infection associated with either pregnancy or

    17     HIV.

    18                Q.       So when Mr. Shkreli said at the Forbes

    19     conference that Express Scripts was trying to get

    20     Daraprim business from him, he was correct; right?

    21                         MR. FORST:         Objection.         Form.      Also scope.

    22                A.       He was correct.



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                                                                                      Page 37
      1                        MR. PLATT:         Okay.      I'm just going to take

      2    a couple minutes here.               Off the record, just because I

      3    might be done soon.

      4                        THE VIDEOGRAPHER:             Off the record at 9:43

      5    AM.

      6                        [A recess was taken.]

      7                        THE VIDEOGRAPHER:             Back on the record at

      8    9:50 AM.

      9    BY MR. PLATT:

    10                Q.       Dr. Miller, you were testifying earlier

    11     about the price of Daraprim and how you were unhappy

    12     the increase, 5,000 percent increase in the price of

    13     Daraprim; correct?

    14                A.       Correct.

    15                Q.       Do you know if there was any change to the

    16     price of Daraprim while you were employed at Express

    17     Scripts?

    18                Let me just clarify.              After the 5,000 percent

    19     increase.

    20                A.       So we came up with a compounded solution

    21     for Daraprim that was less expensive.

    22                Q.       And what does that mean when you say



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                                                                                      Page 38
      1    compound solution?

      2               A.       So a compounding pharmacy is a pharmacy

      3    that can -- has the ability to produce on a doctor's

      4    order a prescription.               And so there are compounded

      5    products where the pharmaceutical manufacturer can get

      6    the ingredients and utilize it to make a appropriate

      7    substitute product.

      8               Q.       Okay.      So when you say compounding, you

      9    mean a substitute product?

    10                A.       It's not the same as the manufactured

    11     product --

    12                Q.       Oh, okay.

    13                A.         -- but it is substitutable for clinical

    14     products.

    15                Q.       Okay.      And did Express Scripts have any

    16     role in that what I'm going to call the compounding

    17     process of Daraprim?

    18                         MR. FORST:         Object -- sorry.            Object to

    19     the form.

    20                A.       So Express Scripts has its own compounding

    21     pharmacy for certain products, but in this particular

    22     case we were not involved in compounding.



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                                                                                      Page 39
      1    BY MR. PLATT:

      2               Q.       All right.         Did you have any conversations

      3    with the Food and Drug Administration regarding the

      4    compounding of Daraprim?

      5               A.       I had no direct conversations with the

      6    Food and Drug Administration.

      7               Q.       Sir, we deposed Mr. Everett Neville

      8    recently, and Mr. Everett Neville said that you did.

      9                        MR. FORST:         Objection to the form.

    10     BY MR. PLATT:

    11                Q.       Would you disagree with Mr. Neville?

    12                         MR. FORST:         Objection.         Let me just

    13     interpose the objection.                Mischaracterizes the

    14     testimony.        You can answer.

    15                A.       Yeah, so our company interacts with the

    16     FDA, but I had no specific conversations with the FDA

    17     on Daraprim.

    18     BY MR. PLATT:

    19                Q.       Do you know if anybody from Express

    20     Scripts had a conversation with the FDA on that

    21     subject?

    22                A.       I know that our government affairs people



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                                                                                      Page 40
      1    who are -- who usually are the ones who interact with

      2    the FDA made it clear to me that the FDA had expressed

      3    their displeasure with our Daraprim solution.

      4               Q.       Okay.      And when you say they expressed

      5    displeasure with your Daraprim solution, you mean

      6    Express Scripts' Daraprim solution?

      7               A.       So we utilized -- we were contacted by a

      8    compounding pharmacy that said that they could create a

      9    substitution product that was not the same as the

    10     Daraprim product that was in the marketplace, which was

    11     important to us because we did not want to violate any

    12     FDA regulation.

    13                And so when a physician prescribes Daraprim,

    14     they also drew leucovorin, and so the compounding

    15     pharmacy was able to create a substitute product that

    16     had both the Daraprim and the leucovorin.

    17                Q.       Oh, okay.        Now, how did you -- you didn't

    18     have any conversations with the FDA, but you have

    19     knowledge of communications with the FDA.

    20                How do you have that knowledge?

    21                A.       Yeah.      So I have obviously at times met

    22     with the FDA, met with the -- the commissioner of the



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                                                                                      Page 41
      1    FDA.

      2               But when it came to Daraprim specifically, it

      3    was our government affairs people that were receiving

      4    communications from the FDA and passing it onto me.

      5               Q.       Okay.      Was there ever any kind of I'm

      6    going to say conceptual -- if you don't understand

      7    that, let me know -- conceptual compound alternative to

      8    Acthar while you were at Express Scripts?

      9                        MR. FORST:         Objection to the form.

    10                A.       So the same compounding pharmacy that had

    11     talked to us about Daraprim said that they had a

    12     solution for Acthar.

    13                We did not believe it was -- it would meet the

    14     FDA requirements, and so we had never -- we were never

    15     able to utilize that solution.

    16     BY MR. PLATT:

    17                Q.       Did you personally ever have

    18     communications with the FDA regarding that Acthar

    19     alternative?

    20                A.       No.

    21                Q.       Do you know if anyone from Express Scripts

    22     ever had a conversation with the FDA about that



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                                                                                      Page 42
      1    particular Acthar alternative?

      2                        MR. FORST:         Objection to the form.

      3               A.       I do not know.

      4               Q.       Are you able to cite me any document or

      5    e-mail between Express Scripts and the FDA regarding

      6    this Acthar alternative?

      7                        MR. FORST:         Objection to the form.

      8               A.       I can't help you there.

      9    BY MR. PLATT:

    10                Q.       So the answer is no?

    11                A.       No.

    12                Q.       Can you give me a name of anybody from the

    13     FDA that you spoke to about compounding alternatives?

    14                A.       No.

    15                Q.       Dr. Miller, when you -- I'm just going to

    16     go back to the beginning of the deposition where you

    17     talked about your objections to the high prices of

    18     Acthar.

    19                         MR. FORST:         Objection.         Scope.

    20     BY MR. PLATT:

    21                Q.       Do you remember that testimony today?                         Do

    22     you recall the testimony?



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                                                                                      Page 43
      1               A.       Yes.

      2               Q.       You are aware, sir, that clients like

      3    mine, the City of Rockford, were paying high prices for

      4    Acthar while you were employed at Express Scripts;

      5    right?

      6               A.       Correct.

      7               Q.       I have nothing further.                Thank you for

      8    your time.

      9                                      EXAMINATION

    10     BY MR. RASMUSSEN:

    11                Q.       Good morning, Dr. Miller.

    12                A.       Good morning.

    13                Q.       I have to imagine you are sick and tired

    14     of talking about Acthar after all of these years, so

    15     I'll try to keep it short for you.

    16                Earlier this morning you mentioned that I think

    17     more important than price is appropriate utilization.

    18     Those are your words.

    19                A.       (Nodding "yes.")

    20                Q.       Can you explain what you meant by that?

    21                A.       Yeah, so you know, the care of patients is

    22     crucial to us.           And even if a drug is expensive, if you



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                                                                                      Page 44
      1    don't have to take the drug at all, it's even less

      2    expensive than getting a discount on drugs.

      3               So making sure that drugs are being used

      4    appropriately is a really important function for our

      5    organization.

      6               Q.       Do you mean -- so when you say if you

      7    don't have to take the drug at all, would that be

      8    because some medications are used off-label to treat

      9    things that they may not really be efficacious for?

    10                A.       I'll give you the best example.

    11                Q.       Please do.

    12                A.       Is inappropriate use of antibiotics.                        So a

    13     lot of times doctors will prescribe antibiotics when

    14     people have, for instance, a viral infection --

    15     antibiotics have no impacts on virus -- and so that

    16     would be inappropriate use.

    17                So we put into place programs to work with

    18     doctors to make sure antibiotics are being used

    19     appropriately.

    20                Q.       Are you aware of any situations involving

    21     the appropriate use of Acthar to treat conditions that

    22     it's really not efficacious for?



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                                                                                      Page 45
      1               A.       So Acthar, as we talked about earlier, has

      2    on its label that it is approved for a variety of

      3    indications, almost.              Almost every one of those

      4    indications -- studies have been done that show other

      5    products being more effective, and so wanting our

      6    patients to get the most effective products we would

      7    steer people to those other products.                        So that's what

      8    the prior authorization does.

      9               Q.       Okay.      And you also said something earlier

    10     today.      You said choosing poorly represents unnecessary

    11     spending.

    12                Does that mean -- or explain what you meant by

    13     that.

    14                A.       So the antibiotic example would be

    15     pertinent there.

    16                So if a doctor makes a poor decision and decides

    17     to put patient on antibiotic when they don't have an

    18     infection, not only can it -- does it have no benefit

    19     to the patient, it can actually have a deleterious

    20     effect because every drug has side effects.

    21                Q.       And you would agree that for 17 or 19 of

    22     the potential indications for Acthar, it's a poor



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                                                                                      Page 46
      1    choice for patients?

      2               A.       The -- for the vast majority -- I can't

      3    give you the specific number, but for the vast majority

      4    of indications, or for the vast majority of the

      5    approvals that it's available for, it's a poor choice.

      6               Q.       And you previously testified in this

      7    litigation that Acthar has some 17 or 19 potential

      8    indications.          For almost all of those, it's a poor

      9    choice?

    10                A.       Again, I correct myself.                 Those are

    11     approvals, not -- its indications for two -- for two

    12     specific diseases.             For those things it's a poor

    13     choice.

    14                Q.       Okay.      And choosing poorly would be --

    15     represents unnecessary spending?

    16                A.       Choosing poorly can represent unnecessary

    17     spending.

    18                Q.       And in the context of Acthar, that would

    19     be if it's -- well, strike that.

    20                You said patient -- you said the care of

    21     patients is crucial.

    22                A.       Correct.



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                                                                                      Page 47
      1               Q.       Would you agree that patient safety should

      2    be the top priority of Express Scripts?

      3                        MR. FORST:         Objection to the form.

      4               A.       So our primary role in health care is to

      5    make drugs safer and more affordable, and so both of

      6    those are important tenets to our company.

      7    BY MR. RASMUSSEN:

      8               Q.       And specifically with respect to Acthar,

      9    what was Express Scripts' role?

    10                         MR. FORST:         Objection to the form.

    11                A.       So Express Scripts, as a pharmacy benefits

    12     manager, we work with clients to create drug lists that

    13     represent the most cost-effective products for their

    14     employee base to utilize.

    15     BY MR. RASMUSSEN:

    16                Q.       Okay.      And is it reasonable for a pharmacy

    17     benefits manager, PBM, to knowingly profit by selling

    18     drugs like Acthar that were egregiously priced?

    19                A.       So we have several arms to our company.

    20     We have pharmacy benefits manager, we have a specialty

    21     pharmacy, we have distribution, and each of them have

    22     their own business model.



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                                                                                      Page 48
      1               And, you know, and each of them have their own

      2    client base.

      3               Q.       That's a perfectly acceptable answer to a

      4    different question.              So I just want you to answer my

      5    question, if possible.

      6                        MR. RASMUSSEN:           Can you read my -- can you

      7    read the question back?

      8                        [The pending question was read by the

      9                        reporter.]

    10                         MR. FORST:         Objection.

    11                A.       So --

    12                         MR. FORST:         Form.      Asked and answered.

    13                A.       Yeah.      So PBMs don't sell drugs.

    14     BY MR. RASMUSSEN:

    15                Q.       Okay.      So what did the PBM, being Express

    16     Scripts in this case, what did -- what was its role

    17     with respect to Acthar?

    18                A.       So the PBM's role was to make the -- was

    19     to choose the formulary and to make sure that the

    20     utilization management programs that went with that

    21     formulary were adhered to.

    22                Q.       And that's it?



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                                                                                      Page 49
      1               A.       That's the role of the PBM.

      2               Q.       Okay.      And then under the -- under Express

      3    Scripts, you also had some subsidiaries that were

      4    responsible for exclusively distributing the

      5    medication; right?

      6               A.       Under Express Scripts we have multiple

      7    subsidiaries, including specialty pharmacies and

      8    distribution.

      9               Q.       Okay.      And so do you believe that it's --

    10     strike that.

    11                Would you agree that a drug distributor should

    12     not needlessly profit by selling drugs that are

    13     egregiously priced?

    14                A.       I believe the distributor should not --

    15     you know, I think that companies are in business to

    16     make profits, and remember the pharmaceutical

    17     manufacturer sets the price of the drug, not the

    18     distributor.

    19                And so I do believe that even though a drug can

    20     be egregiously priced, it's probably still important to

    21     have it available in the marketplace.

    22                So in that particular case if the distributor is



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                                                                                      Page 50
      1    profiting from a egregiously-priced drug, it's probably

      2    appropriate for their business.

      3               Q.       Okay.      And do you think that it's

      4    reasonable for Express Scripts to knowingly profit from

      5    a drug that it believes is egregiously priced?

      6                        MR. FORST:         Objection to the form.

      7    Foundation.

      8               A.       So there is a lot of drugs that are

      9    overpriced in the marketplace.                    They still need to be

    10     made available for patients.                   Patient care is really

    11     important.

    12                And so I think that in those particular cases,

    13     while you may not like the price of the drug, you still

    14     have to make the product available, so yes.

    15     BY MR. RASMUSSEN:

    16                Q.       And so is it your opinion that it is --

    17     it's responsible for Express Scripts to knowingly

    18     participate in selling a drug for indications where

    19     there are other better options to treat their disease?

    20                         MR. FORST:         Objection.         Form, foundation.

    21     Assumes facts not in evidence.

    22                A.       So the -- these are separate businesses.



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                                                                                      Page 51
      1    So when a distributor is selling a drug, they don't

      2    know what the use of the drug is for.                        That's not

      3    provided to the distributor.

      4               So that's beyond their knowledge of what it

      5    would be used for.

      6    BY MR. RASMUSSEN:

      7               Q.       So you are telling me that in the case of

      8    Acthar, the distributor had no idea what indications it

      9    was being approved -- or being distributed for?

    10                A.       Well, the distributor knows what the drug

    11     is available in society for.                   They know what -- you

    12     know, what doctors are prescribing it for.

    13                But their role, the distributor's role, is not

    14     to manage the use of the product.

    15                Q.       You would agree that placing patients in

    16     danger is never appropriate?

    17                         MR. FORST:         Objection to the form.

    18                A.       Yeah, I think that most people believe

    19     that placing patients in danger is not appropriate.

    20     BY MR. RASMUSSEN:

    21                Q.       Right.       You would also agree that you want

    22     to keep patients safe?



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                                                                                      Page 52
      1               A.       I have already stated that -- yeah.

      2               Q.       Yes?

      3               A.       Keeping patients safe is one of our goals.

      4               Q.       Okay.      And you would also agree that when

      5    patients don't receive medications that they need, that

      6    exposes them to risk?

      7               A.       Yes.

      8               Q.       Okay.      And when patients don't receive

      9    medications that they need -- strike that.

    10                Are you aware of any delays that prevented, in

    11     the shipping or distribution or handling of Acthar,

    12     that caused patients to not receive the medication on

    13     time

    14                         MR. FORST:         Object -- sorry.            Objection.

    15     Form.      Foundation.         Again, scope.

    16                A.       I'm not aware of -- of the supply chain

    17     issues with Acthar.

    18     BY MR. RASMUSSEN:

    19                Q.       So you are telling me that in all of these

    20     years of talking about Acthar, ad nauseam -- agreed --

    21     you have never become aware of any delays in getting

    22     the product in to the patients?



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                                                                                      Page 53
      1                        MR. FORST:          Objection to the colloquy

      2     testimony.        Form.      Foundation.

      3               A.       So back early on, when Acthar was still I

      4     believe either owned by Questcor or even owners before

      5     Questcor, there was a shortage of Acthar in the

      6     marketplace that resulted in rationing of Acthar, but

      7     that was, you know, many, many, many years ago.

      8     BY MR. RASMUSSEN:

      9               Q.       Do you agree that Express Scripts should

    10      never prevent or delay medically-necessary treatment

    11      due to making a business agreement designed to put

    12      profits over patient safety?

    13                         MR. FORST:          Objection to the form.

    14      Foundation.

    15                A.       Can you repeat the question?

    16                         MR. RASMUSSEN:            Sure.      Can you read it

    17      back, please?

    18                         [The pending question was read by the

    19                         reporter.]

    20                A.       Yes, I would hope that the company

    21      prevents harm occurring to patients over a business

    22      agreement.



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                                                                                      Page 54
      1    BY MR. PLATT:

      2               Q.       Do you also agree that Express Scripts

      3    should never exaggerate or misrepresent the efficacy of

      4    a medication like Acthar?

      5               A.       I do not believe the company should

      6    exaggerate the benefits of a medication.

      7               Q.       And is it your opinion that -- or strike

      8    that.

      9               Are you aware of anyone at Express Scripts or

    10     any of its subsidiaries ever exaggerating the efficacy

    11     of Acthar?

    12                A.       Personally, no.            You know, I have talked

    13     about its -- its relative non-benefit for most of the

    14     approved indication -- or approved reasons that it's

    15     available, and we were very specific that -- especially

    16     for infantile spasm, for instance, to this day it

    17     continues to be the drug of choice.

    18                Q.       So is that a yes or a no?

    19                         MR. FORST:         Objection.         Asked and

    20     answered.

    21                A.       That's a yes.

    22     BY MR. RASMUSSEN:



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                                                                                      Page 55
      1               Q.       Do you agree that a company should never

      2    profit by selling or distributing a medication that has

      3    been subjected to egregious price increases?

      4               A.       No.

      5               Q.       And what are the circumstances under which

      6    you believe that it's appropriate for a company,

      7    particularly a company -- well, strike that.

      8               Your -- the role of Express Scripts is to

      9    reduce -- drive costs down; right?

    10                A.       The role of the pharmacy benefit manager

    11     is to control spend and prove -- and hopefully make

    12     better health care.

    13                Q.       And by pharmacy benefits manager, you mean

    14     Express Scripts?

    15                A.       I mean, the PBM component of Express

    16     Scripts, Incorporated.

    17                Q.       Okay.      And if that's the job of a PBM, to

    18     drive -- to help reduce costs of medications, and

    19     increase access -- agreed?

    20                A.       To make appropriate access.

    21                Q.       Right, appropriate access.

    22                Then explain to me how you believe it is



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                                                                                      Page 56
      1    appropriate to profit from drugs that have been

      2    subjected to egregious price increases.

      3               A.       Yeah.      So there are many drugs that are

      4    vital for the care of patients that have been

      5    egregiously priced.              I'll give you a great example.

      6    The EpiPen used to cost $94 for a two-pack.                            It went up

      7    to $300, and then went up to $600.

      8               That's an egregiously-priced drug, but it's

      9    vital to save lives when someone has an anaphylactic

    10     reaction.        And so we make it available to patients to

    11     save their life.

    12                And so I believe that there are times when

    13     egregiously-priced drugs are dispensed from our

    14     specialty pharmacy and that that's appropriate.

    15                Q.       And you would agree then that if the

    16     medication is not medically necessary, like most of the

    17     indications are for Acthar, that you should not -- that

    18     PBM should not profit by selling the medication that

    19     has been subjected to egregious price increases?

    20                A.       Again --

    21                         MR. FORST:         Objection to the form.                Go

    22     ahead.



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                                                                                      Page 57
      1               A.       Again, the PBM doesn't dispense the drug.

      2    And so the role of the PBM is to make sure the drug is

      3    being used appropriately, and that's why the PBM puts

      4    in place utilization management programs.

      5    BY MR. RASMUSSEN:

      6               Q.       Yeah, but in this particular instance

      7    isn't the distributor of Acthar a subsidiary of Express

      8    Scripts; correct?

      9                        MR. FORST:         Objection.         Hypothetical.

    10     Foundation.

    11                A.       And so these different subsidiaries

    12     function within their own business models and sets of

    13     rules.      And there are, you know -- and so they are

    14     independent businesses.

    15                And so how the PBM runs, and my ability to

    16     actively campaign against high drug prices, is

    17     independent of what the distributor is doing or the

    18     specialty pharmacy may be doing.

    19     BY MR. RASMUSSEN:

    20                Q.       You agree that for most patients that were

    21     prescribed Acthar, it was -- that the drug was not

    22     worth what they were paying for it?



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                                                                                      Page 58
      1                        MR. FORST:         Objection to the form.                Lack

      2    of foundation.

      3               A.       So I don't know what time frame you are

      4    talking about.           I don't know the market share for

      5    utilization was.            You have got to be more specific.

      6               So if for instance the majority of patients are

      7    getting it for infantile spasm, that's appropriate use.

      8    BY MR. RASMUSSEN:

      9               Q.       Sure.      Sure.      Sure.      Well, maybe you could

    10     help explain to me, because I'm just referring to --

    11     I'm going to refer you to testimony your testimony.

    12                         [Exhibit 4 marked for identification.]

    13     BY MR. RASMUSSEN:

    14                Q.       And if you go ahead and turn with me now

    15     to Page 45.

    16                A.       Yes.

    17                Q.       Now, Dr. Miller, this is your testimony

    18     under oath that you previously provided; correct?

    19                A.       Yes.

    20                Q.       All right.         So do you see about

    21     three-fourths of the way down the page, Line 18, where

    22     it says the deponent -- that's going to be you;



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                                                                                      Page 59
      1    correct?

      2               A.       Okay.

      3               Q.       And you say so Acthar for many indications

      4    is not worth what they're charging for it.

      5               A.       Correct.

      6               Q.       Okay.      And so in this particular -- so you

      7    would agree that companies like AvMed that have paid

      8    for the medication, that their beneficiaries receive,

      9    it wasn't worth it?

    10                         MR. FORST:         Objection.         Foundation.

    11                A.       So I don't know what AvMed's patients were

    12     receiving the drug for.                If you could provide me that

    13     specific, I would be happy to -- but if they -- I'll

    14     make it simple for you.

    15                If they weren't receiving it for infantile spasm

    16     or if they weren't receiving it for exacerbation of MS,

    17     and especially if they have tried other products, then

    18     it probably was not beneficial for them to be receiving

    19     it.

    20     BY MR. RASMUSSEN:

    21                Q.       And you would agree that Acthar has

    22     limited utilization and for most indications that their



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                                                                                      Page 60
      1    listed for it's not of much value?

      2               A.       For most approvals --

      3                        MR. FORST:         Just wait a few --

      4               A.       Sorry.

      5                        MR. FORST:         I'm going to object to the

      6    scope and now just reading from the prior testimony.

      7               A.       So for most things Acthar is approved for,

      8    it is not beneficial.

      9    BY MR. RASMUSSEN:

    10                Q.       And so --

    11                A.       There are better products available.

    12                Q.       Right.       And there are better products that

    13     are far less expensive?

    14                A.       Less -- correct.

    15                Q.       And therefore when companies like AvMed

    16     pay for these medications so their patients can receive

    17     them, the drug, they're not getting the value?

    18                         MR. FORST:         Objection.

    19                A.       Again, I would have to know the specifics

    20     of what their patients were being prescribed the drug

    21     for, but if it was not one of those two that I

    22     mentioned, then your statement would be correct.



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                                                                                      Page 61
      1    BY MR. RASMUSSEN:

      2               Q.       Have you ever heard the term captive

      3    pharmacy?

      4               A.       Yes.

      5               Q.       What is a captive pharmacy?

      6               A.       So a captive pharmacy is, I believe, one

      7    that's owned by its -- by another company and that that

      8    company utilizes that pharmacy.

      9               Q.       Was Acthar -- was it distributed by a

    10     captive pharmacy?

    11                A.       So Acthar had I believe limited

    12     distribution.          That is it was available through

    13     multiple specialty pharmacies.

    14                Q.       But in this -- in the context, you would

    15     still consider Acthar to be subject to a captive

    16     pharmacy?

    17                         MR. FORST:         Objection to the form.

    18                A.       So Acthar was available through multiple

    19     pharmacies, and so those pharmacies were not owned by

    20     the same entities, and so there may have been a captive

    21     pharmacy in the -- but Acthar had a limited

    22     distribution model, specialty pharmacies.



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                                                                                      Page 62
      1    BY MR. RASMUSSEN:

      2               Q.       And I think you interrupted yourself, but

      3    there may have been an active or a captive pharmacy in

      4    the -- and fill in that blank for me?

      5                        MR. FORST:         Objection to the form.

      6    Hypothetical.          Calls for speculation.                Foundation.

      7               A.       So you know, Express Scripts is a PBM,

      8    Express Scripts has a specialty pharmacy.

      9               If it's -- if it's dispensed out of the Express

    10     Scripts pharmacy, which it was, then you could consider

    11     that a captive pharmacy to Express Scripts.

    12     BY MR. RASMUSSEN:

    13                Q.       Okay.      And you would agree that removing

    14     captive pharmacies helps make drug prices more fair?

    15                A.       I don't know the basis for that

    16     assumption.

    17                Q.       Sure.      I'm going to show you what we are

    18     going to mark as Exhibit 5.

    19                         [Exhibit 5 marked for identification.]

    20     BY MR. RASMUSSEN:

    21                Q.       And if you would, go ahead and turn over

    22     to the second page.



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                                                                                      Page 63
      1               Exhibit 5 is -- for the record, it's an e-mail

      2    exchange, but at the top of the first page is dated

      3    December 15th, 2015.              It's an e-mail from Jennifer

      4    Holian to Nicole Hebbert.

      5                        MR. FORST:         Does this have a Bates number,

      6    Khristian?

      7                        MR. RASMUSSEN:           You know, I don't

      8    understand why these things are not printing the Bates

      9    numbers, but it's probably something that -- with our

    10     system that we loaded them into.

    11                         MR. FORST:         Okay.

    12                         MR. RASMUSSEN:           That's my guess.

    13                         MR. FORST:         All right.         So we'll swap

    14     these out?        Is that the plan?

    15                         MR. RASMUSSEN:           Yeah.

    16                         MR. FORST:         I'm going to object because

    17     there's no way for me to tell if these are outside the

    18     scope, but go ahead.

    19     BY MR. RASMUSSEN:

    20                Q.       Okay.      So Doctor, I want to invite your

    21     attention to the second page of this document.                             And if

    22     you'll come down -- if you see the bullet points on the



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                                                                                      Page 64
      1    left-hand side, come down to the second-to-last bullet

      2    point.

      3               And you see where it says Dr. Steve Miller was

      4    interviewed by reporters?

      5               A.       Uh-huh.

      6               Q.       Okay.      And it says the interview addressed

      7    how Express Scripts is making U.S. drug pricing more

      8    fair, including -- what?                And go ahead and read the

      9    rest of that sentence out loud, please.

    10                A.       Including our approach to the

    11     indication-based pricing, our removal of captive

    12     pharmacies from our retail network, and our solution

    13     that provides a dollar Daraprim alternative to our

    14     clients and patients.

    15                Q.       And so my question is, do you still agree

    16     with that statement, that by removing captive

    17     pharmacies that helps drive down the cost of

    18     medication?

    19                A.       So in some cases, a pharmaceutical company

    20     would have its own pharmacy.                   That would be their

    21     captive pharmacy.            And this was mainly around

    22     dermatologic products.



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                                                                                      Page 65
      1               Q.       Right.

      2               A.       And so we removed those pharmacies so that

      3    they could not overcharge.

      4               Q.       Now, did anyone ever try to remove this

      5    captive pharmacy, as you explained it, with respect to

      6    Acthar?

      7                        MR. FORST:         Objection to the form.

      8    Mischaracterizes testimony.

      9               A.       I do not know what was attempted for the

    10     retail networks for Daraprim.

    11     BY MR. RASMUSSEN:

    12                Q.       So that's a no, you're not aware?

    13                A.       No --

    14                         MR. FORST:         Objection.         That's not what he

    15     said.      You asked about Acthar.                The answer was about

    16     Daraprim.        So saying the answer is no doesn't make any

    17     sense, Khristian.            But you have the opportunity to

    18     reask, if you would like.

    19     BY MR. RASMUSSEN:

    20                Q.       And so at this time, in 2014, 2015,

    21     Express Scripts was eliminating the -- this captive

    22     pharmacy as it relates to dispensing Valeant or



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                                                                                      Page 66
      1    Valeant -- or as it relates to Valeant's dermatologic

      2    products?

      3                        MR. FORST:         Objection to the form.

      4               A.       Correct.        It was -- we were going --

      5    Valeant had dermatologic products, they had pharmacies

      6    that they had a relationship with, and we were

      7    eliminating those pharmacies from the network.

      8    BY MR. RASMUSSEN:

      9               Q.       And that's because Valeant had these

    10     dermatology products that were really expensive, and

    11     there was -- there were a lot more safety -- a lot more

    12     alternatives that were just as effective that were less

    13     expensive?

    14                A.       That is correct.

    15                         MR. FORST:         Objection to the form.

    16     BY MR. RASMUSSEN:

    17                Q.       And just like the case with Acthar, for

    18     almost all the indications, there are far less

    19     expensive drugs that are just as efficacious?

    20                         MR. FORST:         Objection to the form.

    21                A.       For most of the things it is approved for.

    22     Outside of, you know, infantile spasm and exacerbations



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                                                                                      Page 67
      1    of MS, there are better drugs that are less expensive.

      2    BY MR. RASMUSSEN:

      3               Q.       That's right.           And you're not aware of

      4    anyone trying to address this captive pharmacy as it

      5    relates to Acthar?

      6               A.       The egregious price of Acthar was set by

      7    the manufacturer, and so that was not a solution that I

      8    was aware of.

      9                        MR. FORST:         Objection to the form.

    10     Mischaracterizes prior testimony.

    11     BY MR. RASMUSSEN:

    12                Q.       All right.         I'm now going to show you what

    13     we are going to mark as Exhibit 6.

    14                         MR. RASMUSSEN:           And just let me know if

    15     these are documents that are outside the scope.                              I

    16     don't think that they are, but if they are --

    17                         MR. FORST:         Well if there's no Bates

    18     number there's no way for us to easily tell that.                                That

    19     was the whole point.

    20                         MR. RASMUSSEN:           Oh, okay.         Got you.

    21                         [Exhibit 6 marked for identification.]

    22     BY MR. RASMUSSEN:



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                                                                                      Page 68
      1               Q.       So I would invite your attention now

      2    to -- this is an e-mail dated November 23rd, 2015.

      3               You know David -- is it Whitrap?

      4               A.       Correct.

      5               Q.       What -- and who is that?

      6               A.       As we talked about before, he works for

      7    Brian Henry.          He is in public relations.

      8               Q.       You know Ed -- is it Adamcik?

      9               A.       Adamcik.

    10                Q.       Adamcik.        You know him as well; right?

    11                A.       Yes, he was a vice president at Pharma

    12     Contracting.

    13                Q.       Okay.      Well, come down -- they were

    14     talking about this Barron's developing story.

    15                Do you remember when this happened back in 2015?

    16                A.       Not specifically.

    17                Q.       Do you see the sentence where it says we

    18     expect the story?

    19                A.       Yeah.

    20                Q.       Okay.      And then I want you to go ahead and

    21     read those -- read that sentence and the one following

    22     it out loud, please.



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                                                                                      Page 69
      1               A.       We expect the story will be very negative

      2    about Mallinckrodt, which has significantly raised the

      3    price of Acthar gel since acquiring the rights to the

      4    drug.      We also expect the story will question our role

      5    in providing the drug given our stance against high

      6    cost drugs.

      7               Q.       So do you think that it's reasonable for a

      8    company to knowingly profit by selling and/or

      9    distributing a drug that has been subject to egregious

    10     price increases?

    11                         MR. FORST:         Objection to the form.                Asked

    12     and answered four times.

    13                A.       So we have previously answered this.                        That

    14     is, we used the example of EpiPens.                       EpiPens are

    15     egregiously-priced.              We made them available because

    16     they are life-saving products.                    There are many cancer

    17     drugs that are egregiously-priced.                      We make those

    18     available because they change the lives of patients

    19     that receive them.

    20                Acthar gel changes -- is the best drug for

    21     infantile spasm, so making it available is appropriate

    22     for a specialty pharmacy.



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                                                                                      Page 70
      1               Q.       And then do you see the third bullet on

      2    the page?

      3               A.       Yes.

      4               Q.       And here it says Dr. Steve Miller spoke

      5    with Reuters and reinforced our commitment to taking

      6    action against pharmacies that are not adhering to our

      7    network agreements.

      8               You agreed with that; correct?

      9               A.       Correct.

    10                Q.       And you're not aware of any action being

    11     taken against any pharmacy as it relates to Acthar

    12     sales?

    13                A.       I am not aware of any pharmacy taking

    14     actions against Acthar.

    15                Q.       And you're not aware of any action that

    16     was taken by you or anyone at Express Scripts against

    17     any pharmacy distributing Acthar, or selling Acthar?

    18                A.       I am not aware.

    19                Q.       Okay.      So would that -- so is it safe then

    20     to assume that the policy -- the policies were all

    21     being adhered to?

    22                         MR. FORST:         Objection --



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                                                                                      Page 71
      1    BY MR. RASMUSSEN:

      2               Q.       By the pharmacies?

      3                        MR. FORST:         Objection to the form.

      4    Foundation.         Incomplete hypothetical.

      5               A.       I can't really address what was happening

      6    at pharmacies that dispense Acthar gel.

      7                        MR. RASMUSSEN:           All right.         Let's take a

      8    quick break.          We may be done.

      9                        MR. FORST:         Okay.

    10                         THE VIDEOGRAPHER:             Off the record at 10:28

    11     AM.

    12                         [A recess was taken.]

    13                         THE VIDEOGRAPHER:             Back on the record at

    14     10:33 AM.

    15                         MR. RASMUSSEN:           Thanks, Doctor.            I don't

    16     have any further questions for you.

    17                         MR. FORST:         Pass the witness, I assume?

    18                         MR. PLATT:         Yes.

    19                         MR. FORST:         Nothing -- okay.

    20                                       EXAMINATION

    21     BY MR. FORST:

    22                Q.       I just have one, Dr. Miller, and I think



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                                                                                      Page 72
      1    it's to clean up a question that counsel for MSP asked,

      2    and I'm going to just go back and read the transcript,

      3    because I think that's easiest.                     And it's specifically

      4    line, for everybody's benefit -- question that starts

      5    at 43:22.

      6               And it says, and it is your opinion -- or strike

      7    that.      Are you aware of anyone at Express Scripts or

      8    any of its subsidiaries ever exaggerating the efficacy

      9    of Acthar?

    10                You answered, personally no.                   You know, I have

    11     talked about -- it goes on -- and then there was a

    12     follow-up question, so is that a yes or a no?

    13                And you said, that's a yes.

    14                So I think -- I'm going to go back to the

    15     original question just to get your answer again.

    16                Are you aware of anyone at Express Scripts or

    17     any of its subsidiaries ever exaggerating the efficacy

    18     of Acthar?

    19                         MR. RASMUSSEN:           Objection to counsel's

    20     testifying.

    21     BY MR. FORST:

    22                Q.       You can answer.



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                                                                                      Page 73
      1               A.       No.

      2                        MR. FORST:         Okay.      That's it.

      3                        THE VIDEOGRAPHER:             Off the record at 10:34

      4    AM.

      5                        [Discussion off the record.]

      6                        THE REPORTER:           So Khristian and William,

      7    same orders as yesterday, E-Tran for both?

      8                        MR. PLATT:         Yeah.

      9                        MR. RASMUSSEN:           Yeah.

    10

    11                               [SIGNATURE RESERVED.]

    12

    13

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                                                                                      Page 74
      1                              C E R T I F I C A T E

      2

      3                     I, Jude Arndt, a Certified Shorthand

      4    Reporter and Certified Court Reporter, do hereby

      5    certify that STEVE MILLER, prior to the commencement of

      6    the examination, was sworn by me to testify the truth,

      7    the whole truth and nothing but the truth.

      8                     I DO FURTHER CERTIFY that the foregoing is a

      9    true and accurate transcript of the proceedings as

    10     taken stenographically by and before me at the time,

    11     place and on the date hereinbefore set forth.

    12                      I DO FURTHER CERTIFY that I am neither a

    13     relative nor employee nor attorney nor counsel of any

    14     of the parties to this action, and that I am neither a

    15     relative nor employee of such attorney or counsel, and

    16     that I am not financially interested in this action.

    17

    18

    19                                 ______________________________

    20                                 JUDE ARNDT, CSR, CCR, RPR

    21                                 CSR NO. 084-004847

    22                                 CCR NO. 1450



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                                                                                        Page 75
     1         Steve Miller, c/o

               QUINN EMANUEL URQUHART & SULLIVAN, LLP

     2         1300 I Street NW, Suite 900

               Washington, DC   20005

     3

               Case: MSP Recovery Claims, Series LLC, et al. v. Mallinckrodt Ard Inc., et al.

     4         Date of deposition: March 29, 2023

               Deponent: Steve Miller

     5

     6         Please be advised that the transcript in the above

               referenced matter is now complete and ready for signature.

     7         The deponent may come to this office to sign the transcript,

     8         a copy may be purchased for the witness to review and sign,

     9         or the deponent and/or counsel may waive the option of

    10         signing. Please advise us of the option selected.

    11         Please forward the errata sheet and the original signed

    12         signature page to counsel noticing the deposition, noting the

    13         applicable time period allowed for such by the governing

    14         Rules of Procedure. If you have any questions, please do

    15         not hesitate to call our office at (202)-232-0646.

    16

    17

    18         Sincerely,

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     4         SIGNATURE PAGE

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     5         Witness Name: Steve Miller

               Deposition Date: March 29, 2023

     6

               I do hereby acknowledge that I have read

     7         and examined the foregoing pages

               of the transcript of my deposition and that:

     8

     9         (Check appropriate box):

               (    ) The same is a true, correct and

    10         complete transcription of the answers given by

               me to the questions therein recorded.

    11         (   ) Except for the changes noted in the

               attached Errata Sheet, the same is a true,

    12         correct and complete transcription of the

    13         answers given by me to the questions therein

    14         recorded.

    15

    16         _____________             _________________________

    17             DATE                    WITNESS SIGNATURE

    18

    19

    20

    21         _____________             __________________________

    22             DATE                         NOTARY




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     6                                ERRATA SHEET


     7


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     9         Witness Name: Steve Miller


    10         Deposition Date: March 29, 2023


    11         Page No.    Line No.        Change


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    21            ___________________________            _____________


    22            Signature                                Date




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                                                                                           Page 1

         A           active 62:3          42:13 66:12        arms 47:19            60:15
ability 38:3 57:15   actively 57:16      Ambler 3:7          Arndt 1:18 2:4       AvMed's 59:11
able 40:15 41:15     ad 52:20            anaphylactic          4:18 6:11,13       aware 21:11,12
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